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IN THE UNITED STATES DISTRICT COURT USJU~ "\\D.C,

FOR THE WESTERN DISTRICT OF TENNESSEE "5 w ge
EASTERN DIVISION fagg 90 33
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ROY LEE WADE, ) TN““C‘KSON
)
Plaintiff, )
)

vs. ) No. 04-1040-T/An

)
MARK DAVIDSON, ET AL., )
)
Defendants. )

 

ORDER DISMISSING UNIDENTIFIED DEFENDANT
AND
OR_DER FOR PLAIN'I`IFF TO SHOW CAUSE

 

Plaintiff` Roy Lee Wade filed this action pursuant to 42 U.S.C. § 1983 against Mark
Davidson, the Sherif`f of Chester County, Tennessee; John Doe, an unidentified Deputy Sheriff for
Chester County; Harry Cooper, the Chief of Police for the City of` McKenzie, Tennessee; Virgil
Bush, Jr., a McKenzie police officer; and the City of McKenzie. On June 7, 2004, the Court granted
Summary judgment to the named McKenzie defendants

Plaintif`f filed an amendment to the complaint on August 27, 2004, adding J ames Clifford
d/b/a J. W. Auto Sales; John Doe I, an unidentified individual acting on Clifford’s behalf; the City
of Henderson, Tennessee; the Henderson Police Department; and John Doe II, an unidentified
Henderson police officer, as defendants The Court granted a motion f`or summary judgment filed

on behalf of the Henderson defendants, including John Doe II,l on October 7, 2004.

 

1 The individual identified as “John Doe ll” in the amendment to the complaint is the same individual
identified simply as “John Doe” in the original complaint 'l`he amendment, however, identifies this person as a
Henderson police officer rather than a Chester County deputy.

This document entered on the docket sheet in compliance \O
with aura se and/or 79 (a) FncP on 5

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On November 10, 2004, the Court entered an Order of Non-Suit as to Chester County and
Chester County Sheriff` l\/Iarl< Davidson. Thus, the only remaining defendants in this action are
James Clifford d/bfa J. W. Auto Sales and the unidentified “John Doe I” allegedly acting on his
behalf. However, any claims asserted against “John Doe I” are time-barred, as the filing of a
complaint against an unidentified defendant does not toll the running of the statute of limitations
against that party. §§ Cox v. Treadway, 75 F.3d 23 0, 240 (6“‘ Cir. 1996); Bufalino v. Michigan Bell
Telephone Co., 404 F.Zd 1023, 1028 (6th Cir. 1968). Therefore, the claims against “John Doe l” are
hereby DISMISSED.

On December 15, 2004, plaintiff filed an application for entry of default against .l ames
Clifford pursuant to Fed. R. Civ. P. 55(a). The Clerk entered default against Clifford on December
21, 2004. However, plaintiff has not sought a default judgment, and has taken no further action in
this case.

Plaintiff` is hereby ORDERED to show cause, Within twenty (20) days after the entry of this
order, why any claims against Clifford should not be dismissed for failure to prosecute

IT IS SO ORDERED.

Q¢W?J¢QMM

JA D. TODD
UNéED% STATES DISTRICT JUDGE

M/__

 

DATE V

DISTRICT OU T WESTER D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case l:04-CV-01040 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

